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                 IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 IN RE:

 5171 CAMPBELLS LAND CO., INC.                  Bankruptcy No. 19-22715-CMB

              Debtor.                           Chapter 11

                                                Document No.

                                                Related to Doc. Nos. 308, 309,
                                                                     351, 352

                                                Hearing Date and Time:
                                                February 20, 2020 at 2:30 p.m.

                              CERTIFICATE OF SERVICE

       Robert O Lampl, John P. Lacher, David L. Fuchs and Ryan J. Cooney, hereby

 certify, that on the 18th day of December, 2019, a true and correct copy of the ORDER

 SETTING DEADLINES AND SCHEDULING HEARING ON PLAN CONFIRMATION,

 ORDER APPROVING DISCLOSURE STATEMENT AS MODIFIED, DEBTOR’S PLAN

 OF LIQUIDATION DATED NOVEMBER 12, 2019, DEBTOR’S DISCLOSURE

 STATEMENT TO ACCOMPANY PLAN DATED NOVEMBER 12, 2019 and BALLOT

 ACCEPTING OR REJECTING PLAN was served on the following (via electronic service):

 SEE ATTACHED COMPLETE CLERK’S OFFICE MAILING MATRIX
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 Date: December 18, 2019                          /s/ Robert O Lampl
                                                  ROBERT O LAMPL
                                                  PA I.D. #19809
                                                  JOHN P. LACHER
                                                  PA I.D. #62297
                                                  DAVID L. FUCHS
                                                  PA I.D. #205694
                                                  RYAN J. COONEY
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